Case 1:17-cv-01459-LPS-CJB Document 13 Filed 12/18/17 Page 1 of 1 PageID #: 119



                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE
                                              §
CODING TECHNOLOGIES LLC,                      §
                                              §
              Plaintiff,                      §    Case No.: 1:17-cv-01459-LPS-CJB
                                              §
      vs.                                     §
                                              §    NOTICE OF SETTLEMENT AND
ITT INC.,                                     §    VOLUNTARY DISMISSAL
                                              §
              Defendant.                      §
                                              §
                                              §
                                              §
                                              §

          Plaintiff, CODING TECHNOLOGIES LLC, hereby gives notice that this action has been

settled and, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby voluntarily dismisses this action,

with prejudice, with both parties to bear their own attorneys’ fees and expenses incurred in this

action.


DATED on December 18, 2017


                                              Respectfully submitted,

                                                  /s/ Stamatios Stamoulis
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